
MaddeN, Judge,
delivered the opinion of the court:
The plaintiffs sue for just compensation for the alleged taking by the Government of raw silk which was the property of the plaintiffs. The Government demurs, saying that the petition does not allege a taking within the meaning of the Constitution. In the cases of Edward P. Stahel and others v. United States, decided this day, the Court held that the conduct of the Government in relation to the control and acquisition of stocks of raw silk did not constitute a taking prior to the amendment to General Preference Order M-22, which amendment was issued on October 16, 1941, but that that amendment did constitute a taking as of that date, entitling the plaintiffs in those cases to just compensation. Pursuant to the reasons given in that case, we overrule the Government’s demurrer, except as to such allegations of the petition as relate to conduct of the Government which occurred before October 16, 1941. As to such allegations, the demurrer is sustained.
It is so ordered.
Howell, Judge; Whitaker, Judge; Littleton, Judge; and Jones, Ohief Justice, concur.
